This is a motion by appellant, upon suggestion of diminution of the record, to incorporate in the record on appeal certain matters contained in a "Proposed Certification of County Clerk".
[1] From the bill of exceptions it appears that appellant seeks a reversal solely upon the ground that his motion for a jury trial was denied. The pleadings, the motion and the affidavits upon which that motion was heard in the trial court are included in the transcript. The bill of exceptions proposed by appellant and settled by the trial court recites "That said motion was heard upon the papers included above and the pleadings contained in said cause. . . ." On the present motion in this court it is not made to appear that the matters referred to in the "Proposed Certification of County Clerk" were before the trial court upon the hearing of said motion nor that said matters are material upon the hearing of this appeal on the merits. The motion is therefore denied.
Sturtevant, J., and Nourse, P.J., concurred.